Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.22 Filed 03/12/19 Page 1 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.23 Filed 03/12/19 Page 2 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.24 Filed 03/12/19 Page 3 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.25 Filed 03/12/19 Page 4 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.26 Filed 03/12/19 Page 5 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.27 Filed 03/12/19 Page 6 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.28 Filed 03/12/19 Page 7 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.29 Filed 03/12/19 Page 8 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.30 Filed 03/12/19 Page 9 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.31 Filed 03/12/19 Page 10 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.32 Filed 03/12/19 Page 11 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.33 Filed 03/12/19 Page 12 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.34 Filed 03/12/19 Page 13 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.35 Filed 03/12/19 Page 14 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.36 Filed 03/12/19 Page 15 of 16
Case 4:19-cv-10738-MFL-PTM ECF No. 2, PageID.37 Filed 03/12/19 Page 16 of 16
